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EXHIBIT 5

(Directors of Reorganized NEI and the Other Reorganized Debtors)!

' The Debtors expressly reserve the right to supplement, modify or amend this document at any time prior to the
Effective Date.
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DRAFT
SUBJECT TO CHANGE

EXHIBIT 5

List of Directors of Reorganized NEI
and the Other Reorganized Debtors

1. Timothy J. Bernlohr

2. James N. Chapman

3. John H. Forsgren

4. Walter A. Jones

5. Ted S. Lodge

6. To be filled by new CEO
7. TBD

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Ted S. Lodge
GoldenTree Asset Management
300 Park Avenue, 21st Floor
New York, New York 10022

Mr. Lodge is a Partner responsible for restructurings and turnarounds at GoldenTree Asset
Management, a New York based institutional asset management firm. Prior to joining
GoldenTree, Mr. Lodge served as an advisor to private equity firms and hedge funds investing in
stressed and distressed businesses, and he led the turnarounds or restructurings of a number of
companies, including Globix Corporation and Pegasus Communications. Mr. Lodge has served
on the boards of directors of numerous public, private and not for profit entities, often as
chairman. He currently serves on the boards of Southern Community Newspapers, James Cable,
Port Townsend Paper and Haights Cross. Mr. Lodge received his J.D. from the University of
Pennsylvania Law School, his M.Sc. in Economic History from the London School of Economics
and his A.B. in Political Economy from Brown University.
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Timothy J. Bernlohr. Mr. Bernlohr is the founder and managing member of TJB Management
Consulting, LLC, which specializes in providing project specific consulting services to businesses in
transformation; including restructurings, interim executive management and strategic planning services.
He founded the consultancy in 2005. Mr. Bernlohr is the former President and Chief Executive Officer
of RBX Industries, Inc., which was a nationally recognized leader in the design, manufacture and
marketing of rubber and plastic materials to the automotive, aerospace, and industrial markets. RBX®
was sold to multiple buyers in 2004 and 2005. Prior to joining RBX® in 1997, Mr. Bernlohr spent 16
years in the International and Industry Products division of Armstrong World Industries, where he
served in a variety of management positions. Mr. Bernlohr also serves as chairman of the board of
directors of Champion Home Builders, Inc. and as chairman of the board of directors of The
Manischewitz Company and Cuisine Innovations®. He is also a director of Atlas Air Worldwide
Holdings, Inc, Aveos Fleet Performance, Inc., Smurfit Stone Container Corporation, Bally Total Fitness
Corporation, Hayes Lemmerz International, Inc. Hilite International, Ambassador’s International Inc.,
and Aventine Renewable Energy, Inc. Mr. Bernlohr has served in the previous five years as a director
of General Chemical Industrial Products, Inc, WCI Steel, Inc., Zemex Minerals, Cadence Innovation,
General Insulation Co., Nybron Flooring International, Trident Resources Corporation, PetroRig Pte
Ltd., BHM Technologies, Inc., and Petals USA. Recent TIB Management, LLC consulting customers
have included Exide Technologies, Inc., Rural Metro Corporation, Haights Cross Communications,
Sedo Chemical, Inc. Rubatex International, Reeves Brothers, Inc., and Valley Bank. Mr. Bernlohr is a
1981 graduate of The Pennsylvania State University.
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John H. Forsgren

Brief Biography
Education

Georgetown University —- AB with a major in Economics in 1967

Columbia University - MBA wih a majors in Finance and Marketing, 1969

University of Geneva, Switzerland — Master’s Degree in International Finance and.
Management, 1972.

Professional Career
35 years in large corporations in the field of corporate finance, most notably as-

Vice President and Treasurer of Sperry Rand Corporation, 1982-1986

Vice President and Treasurer of The Walt Disney Company, 1986-1990

Senior Vice President and Chief Financial Officer, Walt Disney Europe, 1991-1994
Managing Director, Chase Manhattan Bank, 1995-1996

Executive Vice President and Chief Financial Officer, Northeast Utilities, 1996-2001
Vice Chairman of the Board and Chief Financial Officer, Northeast Utilities, 2001-2004.

The most significant achievements in each of these roles were in the areas of balance
sheet de-leveraging and re-structuring, corporate strategic development, public market
financings including very large IPOs, and navigating through the de-regulation and re-
structuring of the electric utility industry.

Officially retired, Dec. 31, 2004 and currently serving on the following Boards of
Directors-

The Phoenix Companies, Hartford, Connecticut - NYSE listed. Life insurance and
investment management. (Chair of Finance and Investment Committee and member of
Audit Committee).

Trident Resources, Inc., Calgary, Alberta, Canada- Privately held. Exploration and
development of natural gas properties in Western Canada and U.S. (Chair of Audit
Committee).

Port Townsend Paper Company, Seattle Washington — Privately held. Manufacture of
paper and packaging products in the Pacific Northwest and British Columbia. (Chair of
Audit Committee).

Duke Energy Corporation, Charlotte, North Carolina— NYSE listed. Electric and gas
utility and related energy businesses. Elected to the board of directors in August, 2009.
Member of Audit Committee and Compensation Committee.
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Formerly served on the board of-
Neon, Inc., New York — Wholesale fiber optic telecommunications.(Chair of Audit
Committee).

CuraGen Corporation, New Haven, Connecticut - NASDAQ listed. Pharmaceuticals and
gene-sequencing instrumentation. Chair of Audit Committee and member of Governance
Committee from 2002 to 2009. Executive Chairman of the Board, 2009. Company
completed a merger in September, 2009.

Charitable activities have included the following-

Georgetown University -member of the Board of Regents, member and former Chair of
the Board of the University Library.

The Nature Conservancy — chair of the capital campaign for Connecticut.

Solar Light for Africa- member of the board and board Treasurer.

Currently residing in ~
New York, NY and
Boca Raton, FL

Date of birth- August 31, 1946.
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James N. Chapman
14 Alpine Road
Greenwich, CT 06830-3435
203-983-6676 (0)
203-249-6780 (C)
jnc1962@optonline.net

Mr. Chapman is non-executive Vice Chairman of SkyWorks Leasing, LLC, an aircraft
management services company based in Greenwich, Connecticut, which he joined in December
2004, Prior to SkyWorks, he was associated with Regiment Capital Advisors, LP, an investment
advisor based in Boston specializing in high yield investments, which he joined in January 2003.
Prior to Regiment, Vir. Chapman acted as a capital markets and strategic planning consultant
with private and public companies, as well as investment advisers and hedge funds (including
Regiment), across a range of industries. Prior to establishing an independent consulting practice,
Mr. Chapman worked for The Renco Group, Inc. (a multi-billion dollar private corporation in New
York) from December 1996 to December 2001. Prior to Renco, he was a founding principal of
Fieldstone Private Capital Group in August 1990 where he headed the Corporate Finance and
High Yield Finance Groups. Prior to joining Fieldstone, Mr. Chapman worked for Bankers Trust
Company from July 1985 to August 1990, most recently in the BT Securities capital markets area.

Mr. Chapman has over 25 years of investment banking experience in a wide range of industries
including aviation/airlines, metals/mining, natural resources/energy, automotive/general
manufacturing, financial services, real estate and healthcare. Presently, he serves as a member
of the Board of Directors of AerCap Holdings NV (NYSE: AER), Scottish Re Group Limited
(NYSE: SCT) and Tembec Inc. (TO: TMB). In addition, Mr. Chapman is also a Board member of
several private companies including American Media, Inc. Hayes-Lemmerz International, Inc.,
LNR Property Corporation, Old Chrysler LLC and MXenergy Corporation, and serves on the
Finance Committee of The Whitby School in Greenwich.

In prior years, Mr. Chapman has served as director of numerous other companies including,
Alinabal Holdings, Inc., Advanced Healthcare, LLC, Anchor Glass Container Corporation, Anchor
Resources, LLC, Chrysler LLC, Coinmach Laundry Corp., Coinmach Service Corp., Davel
Communications, Inc., EntreCap Financial (formerly Pitney Bowes Credit Corporation), Meridian
Rail Corporation, Resident Direct Industries, LLC, Southwest Royalties, Inc., SSA Global
Technologies, Inc., Teleglobe International Holdings Ltd. and Vanguard Car Rental (National and
Alamo Rental Car). Additionally, Mr. Chapman worked directly and closely with AM General
Corporation, Damage Recovery Systems, Inc., The Doe Run Company, Doe Run Peru, Ltda.,
Magnesium Corporation of America, MXenergy, inc., Renco Steel Holdings, Inc., WCI Steel, Inc.,
Lodestar Energy, Inc., Trinity Coal Corporation and Sabel Steel, Inc.

Mr. Chapman has served on numerous committees for the various Boards including audit
committee, compensation committee, pricing committee, portfolio management committee,
Treasury committee and corporate governance and human resource/nomination committee
responsibilities. He has also served on special committees related to “going-private” transactions
and other strategic initiatives, including mergers, acquisitions, restructurings, bankruptcies and
litigation.

Mr. Chapman received an M.B.A. degree with distinction from Dartmouth College and was
elected an Edward Tuck Scholar. He received his BA degree, with distinction, magna cum laude,
at Dartmouth College and was elected to Phi Beta Kappa, in addition to being a Rufus Choate
Scholar.
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CoMetricsPartners . _

1411 Broadway, 7th Floor, New York, NY 10018
Phone: 212.381.0871 * web: www.CoMetricspartners.cam

Walter A. Jones
Managing Director, Profit Maximization and Turnaround Division

Walter has more than 25 years of hands-on experience as a turnaround advisor, crisis
manager and interim line manager. His experience emphasizes profitability improvement
through overhead reduction, supply chain optimization, divisional product line and customer
profitability maximization and working capital efficiency. He has applied these restructuring and
turnaround skills to deliver dramatic improvements in cash flow, profitability and returns on
capital employed in the manufacturing, wholesale, retail, apparel, consumer products and
service industries.

As a CEO, COO and CFO for several public and private middle market companies, Walter has
guided his clients through complex turnarounds and restructurings. In these roles he has had
considerable success in conflict management and resolution among competing stakeholders.
He has also developed substantial international expertise in troubled situations dealing with
foreign subsidiaries, agents, licensees, joint ventures, customers and vendors.

Previously Mr. Jones served as a Principal in the turnaround practice of two regional
accounting firms, Co-President of a crisis management and restructuring boutique
organization, Vice President of Finance of a merchant banking firm specializing in financially
troubled companies and as a general management consultant with a “Big Four’ accounting
and consulting firm. His hands on manufacturing expertise grew out of his engineering
positions with Ford Motor's Casting Division as well as Newport News Shipbuilding. Mr. Jones
has a Bachelor of Science degree in industrial engineering from Pennsylvania State University,
is a member of the Turnaround Management association and a frequent speaker and panel
member on bankruptcy and crisis management issues.
